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 5                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 6

 7 UNITED STATES OF AMERICA,                         2:19-CR-310-RFB-BNW

 8                 Plaintiff,                       Preliminary Order of Forfeiture

 9         v.

10 JESS ELIJIO CARRANZA,

11                 Defendant.

12         This Court finds Jess Elijio Carranza pled guilty to Count One of a One-Count
13 Criminal Indictment charging him with felon in possession of a firearm in violation of 18

14 U.S.C. § 922(g)(1). Criminal Indictment, ECF No. 1; Change of Plea, ECF No.52
                                                                               __;
15 Memorandum in Support of Plea, ECF No. 48
                                          __.
16         This Court finds Jess Elijio Carranza agreed to the forfeiture of the property set forth
17 in the Memorandum in Support of Plea and the Forfeiture Allegation of the Criminal

18 Indictment. Criminal Indictment, ECF No. 1; Change of Plea, ECF No. __;
                                                                       52 Memorandum

19 in Support of Plea, ECF No. 48
                               __.
20         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United
21 States of America has shown the requisite nexus between property set forth in the

22 Memorandum in Support of Plea and the Forfeiture Allegation of the Criminal Indictment

23 and the offense to which Jess Elijio Carranza pled guilty.

24         The following property is any firearm or ammunition involved in or used in any
25 knowing violation of 18 U.S.C. § 922(g)(1) and is subject to forfeiture pursuant to 18

26 U.S.C. § 924(d)(1) with 28 U.S.C. § 2461(c):

27              1. a Smith and Wesson, Model SD9 VE, 9mm caliber pistol, bearing serial
28                 number FWS0950; and
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 1              2. any and all ammunition

 2   (all of which constitutes property).

 3          This Court finds that on the government’s motion, the Court may at any time enter

 4   an order of forfeiture or amend an existing order of forfeiture to include subsequently

 5   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

 6   32.2(b)(2)(C).

 7          This Court finds the United States of America is now entitled to, and should, reduce

 8   the aforementioned property to the possession of the United States of America.

 9          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

10   DECREED that the United States of America should seize the aforementioned property.

11          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

12   rights, ownership rights, and all rights, titles, and interests of Jess Elijio Carranza in the

13   aforementioned property are forfeited and are vested in the United States of America and

14   shall be safely held by the United States of America until further order of the Court.

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that if the value of

16   the property is less than $1,000, the government may serve every person reasonably

17   identified as a potential claimant in lieu of publication pursuant to Fed. R. Crim. P.

18   32.2(b)(6)(C) with Fed. R. Civ. P. Supp. Rule G(4)(a)(i)(A).

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

20   or entity who claims an interest in the aforementioned property must file a petition for a

21   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

22   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C.

23   § 853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

24   right, title, or interest in the forfeited property and any additional facts supporting the

25   petitioner’s petition and the relief sought.

26          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

27   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

28   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

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 1   not sent, no later than sixty (60) days after the first day of the publication on the official

 2   internet government forfeiture site, www.forfeiture.gov.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

 4   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

 5   Attorney’s Office at the following address at the time of filing:

 6                  Daniel D. Hollingsworth
                    Assistant United States Attorney
 7                  James A. Blum
                    Assistant United States Attorney
 8                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
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10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

11   described herein need not be published in the event a Declaration of Forfeiture is issued by

12   the appropriate agency following publication of notice of seizure and intent to

13   administratively forfeit the above-described property.

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

15   copies of this Order to all counsel of record.

16          DATED _____________________,
                   November 18           2021.

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19                                                    RICHARD F. BOULWARE, II
20                                                    UNITED STATES DISTRICT JUDGE

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